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  8                       UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10
 11   UNITED STATES OF AMERICA,                      CASE NO. 99cr2080 BTM
                                                              99cr2147 BTM
 12                                     Plaintiff,            00cr0352 BTM
                                                              01cr0796 BTM
 13         v.                                                01cr1415 BTM
 14                                                  ORDER GRANTING REQUEST TO
                                                     SUBSTITUTE MARK R.
 15   IRA ITSKOWITZ (1),                             WESTERMAN AND WILLIAM F.
      DANIEL WILLIAM REARICK (2),                    WESTERMAN AS PAYEES
 16   MICHAEL ERMERSON LOPUSZYNSKI (3)
      JOSEPH JOHN WIDMER (7)                         (Criminal Case No. 99cr2080 BTM)
 17   JAMES CHARLES QUINN SLATON (8)
      MARK VICTOR NACHAMKIN (9)
 18   PAUL EVAN PERELMAN (10), and
      MICHAEL WILHELM ENGELHARDT (16),
 19
                                  Defendants.
 20
 21
      UNITED STATES OF AMERICA,
 22                                                  (Criminal Case No. 99cr2147 BTM)
                                        Plaintiff,
 23
            v.
 24
      IRA ITSKOWITZ (1)
 25   DANIEL WILLIAM REARICK (2), and
      MICHAEL EMERSON LOPUSZYNSKI (3),
 26
                                  Defendants.
 27
 28


                                                1          99cr2080, 99cr2147, 00cr0352, 00cr0796, 01cr1415
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  1
       UNITED STATES OF AMERICA,
  2                                                     (Criminal Case No. 99cr0352 BTM)
                                           Plaintiff,
  3
             v.
  4
       LINDSAY WELLMAN,
  5
                                        Defendant.
  6
  7
       UNITED STATES OF AMERICA,
  8                                                     (Criminal Case No. 01cr0796 BTM)
                                           Plaintiff,
  9
             v.
 10
       TIMOTHY DAVID GRAYSON,
 11
                                        Defendant.
 12
 13    UNITED STATES OF AMERICA,

 14                                        Plaintiff,   (Criminal Case No. 01cr1415 BTM)

 15          v.

 16    MARC DAVID LEVINE (1),
       JONATHAN EDWARD SHOUCAIR (2),
 17    ROBERT TERRANCE HART (5),
       EUGENE DONALD EVANGELIST, JR. (7)
 18    KENT BOLLENBACH (8),
       BRENT DOUGLAS MORRIS (9)J
 19    JOSEPH ANTHONY MARFOGLIA (11),
       SYLVAN MORGAN METOYER, III (12),
 20    DAVID ZEIDEL DIAMAND (14),
       JAMES THOMAS RISSMILLER (15),
 21    ANDREW MATTHEW CASTRIOTTA (16),
       MARK ALLEN JACONSKI (17), and
 22    RICHARD YORK (20),

 23                                   Defendants.

 24
 25         Mark R. Westerman and William F. Westerman have filed a request to be substituted

 26   in as restitution recipients in lieu of their deceased mother, Jean V. Westerman. The

 27   movants have submitted documentation to the Court establishing that they are the only two

 28   beneficiaries to their mother’s estate. Accordingly, the Court GRANTS their request and


                                                   2          99cr2080, 99cr2147, 00cr0352, 00cr0796, 01cr1415
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  1   orders that the Clerk of the Court substitute Mark R. Westerman and William F. Westerman
  2   as joint payees on any future disbursements of restitution due to Jean V. Westerman.
  3          Movants’ letter request shall be filed on the public docket. The attachments to the
  4   letter shall be filed under seal.
  5   IT IS SO ORDERED.
  6   DATED: June 1, 2010
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  8                                             Honorable Barry Ted Moskowitz
                                                United States District Judge
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                                                  3           99cr2080, 99cr2147, 00cr0352, 00cr0796, 01cr1415
